
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-374-CR



THE STATE OF TEXAS	STATE



V.

RICHARD CHARLES CAMP	 &nbsp;&nbsp;&nbsp;&nbsp;						 &nbsp;APPELLEE

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FROM COUNTY CRIMINAL COURT NO. 4 OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered the “State’s Motion To Dismiss Appeal And Issue Mandate.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 
Tex. R. App. P.
 43.2(f). &nbsp;
As agreed by the parties
, the mandate will issue immediately. &nbsp;
See
 
Tex. R. App. P.
 
18.1(c).
	

It is further ordered that the State shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 Tex. Code Crim. Proc. 
A
nn
. art. 
44.01(f) (Vernon Supp. 2004-05).



PER CURIAM



PANEL D:	HOLMAN, GARDNER, and WALKER, JJ. 

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: December 2, 2004

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




